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AO 472 (Rev. 3/86) Order of Detention Pending Trial


                                                      United States District Court
                                                                           DISTRICT OF KANSAS

             UNITED STATES OF AMERICA
                       v.                                                                      ORDER OF DETENTION PENDING TRIAL

                              VINOL WILSON                                                     Case Number: 07-20168-07-JWL-DJW
                                         Defendant

     In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts
require the detention of the defendant pending trial in this case.
                                                           Part I - Findings of Fact
9 (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a (federal offense) (state
      or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed) that is
      9 a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
      9 an offense for which the maximum sentence is life imprisonment or death.
      9 an offense for which a maximum term of imprisonment of ten years or more is prescribed in

             9 a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                    U.S.C. § 3142(f) (1)(A)-(C), or comparable state or local offenses.
9 (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
      offense.
9 (3) A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
      the offense described in finding (1).
9 (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
             assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                             Alternative Findings (A)
9 (1) There is probable cause to believe that the defendant has committed an offense
      9 for which a maximum term of imprisonment of ten years or more is prescribed in ________________________________
      9 under 18 U.S.C. § 924(c).
9 (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
             reasonably assure the appearance of the defendant as required and the safety of the community.
                                                           Alternative Findings (B)
: (1) There is a serious risk that the defendant will not appear.
: (2) There is a serious risk that the defendant will endanger the safety of another person or the community.



                                          Part II - Written Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by (clear and convincing evidence) (a
preponderance of the evidence) that

                                                                                   (See attached pages)

                                                   Part III - Directions Regarding Detention
      The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United
States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the
United States marshal for the purpose of an appearance in connection with a court proceeding.

Dated: July 22, 2009                                                                           s/ David J. Waxse
                                                                                                             Signature of Judicial Officer

                                                                                               DAVID J. WAXSE, U.S. MAGISTRATE JUDGE
                                                                                                             Name and Title of Judicial Officer

*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or (c) Section 1 of Act of Sept. 15,
1980 (21 U.S.C. § 955a).
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                  Part II - Written Statement of Reasons for Detention
   There is a series of factors I have to look at to determine whether or not there are conditions

that can be set that would assure your appearance and protect the safety of the community.

   The first factor is whether or not the offense is a crime of violence or involves a controlled

substance. Clearly your case involves a controlled substance so that is a negative factor.

   The next factor is the weight of the evidence. There has been a Grand Jury Indictment so that

is a negative factor.

   The next factor is the history and characteristics of the person, which includes your physical

and mental condition. There is nothing about your physical or mental condition that seems to be

a problem.

   Your employment is a problem.

   Your family ties are somewhat limited based on the Report.

   There is no indication that you have substantial financial resources that would enable you to

flee so that is a positive.

   Your length of residence in the community is positive.

   Your community ties are positive.

   Your past conduct, which includes history relating to drug or alcohol abuse, criminal history,

and record concerning appearance at court proceedings, is a problem. There are numerous times

you have had contact with law enforcement and have been given tickets, or warrants, or

summons, and you have failed to appear.

   The next factor is whether at the time of the current offense or arrest you were on probation,

parole, or other release. At the time of the arrest you clearly were under release from numerous

municipal courts on various tickets.


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   The final factor is the nature and seriousness of the danger that would be posed to any person

in the community by your release. Distribution of these kind of illegal drugs is a substantial

danger.

   Considering all these factors together, I do not find any conditions that I could set or that I have

any confidence you will comply with, so you are going to remain detained.




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